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                  EXHIBIT 17
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               DEPARTMENT OF HEALTH& HUMAN SERVICES                                    office of Inspector Generai




                                                                                       Memorandum
    Date       “SEP [219% “


                           e&
    From
               June Gibbs Brown
               Inspector Gener
    Subject
               Review. of P         Acquisition Costs for Drugs Reimbursed Under the Medicaid
    To
               Prescription Drug Program of the Delaware Department of Health and Social
               Services “[A-06-95-00063)

               Bruce C. Vladeck                    .
               Administrator
               Health Care Financing Administration


               Attached for your information and use is our final report entitled, “Review of
               Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription
               Drug Program of the Delaware Department of Health and Social Services.” This
               review was conducted as part of a nationwide audit of pharmacy drug acquisition
               costs at the Health Care Financing Administration’s request. Most States reimburse
               pharmacies for Medicaid prescriptions using a formula which generally discounts the
               average wholesale price (AWP) by 10.5 percent. The objective of our review was
               focused on developing an estimate of the difference between the actual acquisition
               costs of drugs of pharmacies and AWP for both brand name and generic drugs.

               The Delaware Department of Health and Social Services (State Agency) was 1 of 11
               States randomly selected as part of the nationwide review. Delaware reported drug
I
               expenditures of $19.3 million in Calendar Year 1994.

               Through statistical sampling, we obtained pricing information from 29 Delaware
               pharmacies. We obtained 2,529 invoice prices for brand name drugs, and 971
               invoice prices for generic drugs. The overall estimate of the extent that AWP
               exceeded pharmacy purchase invoice prices was 19.3 percent for brand name drugs
               and 37.0 percent for generic drugs. The national estimates are 18.3 percent and
               42.5 percent, respectively. The estimates combine the results for four categories of
               pharmacies including rural-chain, rural-independent, urban-chain, and urban-
               independent. The estimates exclude the results obtained from non-traditional
               pharmacies (nursing home pharmacies, hospital pharmacies, home IV, etc.) because
               such pharmacies purchase drugs at substantially greater discounts than retail
               pharmacies, and including them would have inappropriately inflated our percentages.
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 Page   2 - B r u c e C. Vladeck

 Inour draft report, werecomrnended that the State Agency consider the results of
 our review as a factor in any future changes to pharmacy reimbursement for
 Medicaid drugs. In response to our draft report, the Secretary of the State Agency
 concurred with our recommendation. The Secretary’s comments are incorporated
 in our fiial report.
         ,,,
 We welcome any comments you have on this Delaware State report. If you have
 any questions, caJl me or have your qtaff contact George M. Reeb, Assistant
 Inspector General for Health Care Financing Audits, at (410) 786-7104.

 To facilitate identification, please refer to Common Identification Number
 A-06-95-00063.

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       Department of Health and Human Services
                     OFFICE OF
                INSPECTOR GENERAL
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                ,




    REVIEW OF PHARMACY ACQUISITION COSTS
                      FOR
     DRUGS REIMBURSED UNDER THE MEDICAID
          PRESCRIPTION DRUG PROGRAM
    OF THE DELAWARE DEPARTMENT OF HEALTH
              AND SOCIAL SERVICES




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                       *                         JUNEGIBBS BROWN
                      ~                          Inspector General
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                                               SUMMARY
          t the request of the Health Care Financing Administration (HCFA), the OffIce of Inspector
    A      General (OIG) conducted a nationwide review of pharmacy acquisition costs for drugs
    reimbursed under the Medicaid prescription drug program. Since most States reimburse
    pharmacies for Medicaid prescriptions using a formula which discounts the average wholesale
    price (AWP}, the objective of our review was to develop an estimate of the difference between
    the actual acq~sition costs of drugs of the pharmacies and AWP for both brand name and
    generic drugs.

    To accomplish our objective, we selected a random sample of 11 States from a universe of 48
    States and the District of Columbia. Arizona was excluded from the universe of States because
    the Medicaid drug program is a demonstration project using prepaid cavitation financing and
    Tennessee was excluded because of a waiver received to implement a statewide managed care
    program for Medicaid. Delaware was one of the sample States, as well as California, District of
    Columbi~ Florid% Maryland, Missouri, Montan~ Nebrask~ New Jersey, North Carolin~ and
    Virginia.

    Additionally, we selected a sample of Medicaid pharmacy providers from each State and
    obtained invoices of their drug purchases. The pharmacies were selectedfi-om each of five
    categories--rural-chain, rural-independent, urban-chain, urban-independent, and non-traditional
    pharmacies (nursing home pharmacies, hospital pharmacies, etc.). We included the non-
    traditional category so as to be able to exclude those pharmacies from our overall estimates. We
    believed such pharmacies purchase drugs at substantially greater discounts than retail
    pharmacies, and including them would have inflated our percentages.

    We compared each invoice drug price to AWP for that drug and calculated the percentage, if any,
    by which AWP exceeded the invoice price. We then projected those differences to the universe
    of pharmacies in each category for each State and calculated an overall estimate for each State.
    Additionally, we projected the results from each State to estimate the nationwide difference
    between AWP and invoice price for each category.

    In Delaware, we obtained pricing information from 29 pharmacies. Specifically, we obtained
    2,529 invoice prices for brand name drugs, and 971 invoice prices for generic drugs. For
    Delaware, the overall estimate of the extent that AWP exceeded invoice prices was 19.3 percent
    for brand name drugs and 37.0 percent for generic drugs. The national estimates are 18.3 percent
    and 42.5 percent, respectively. The estimates combine the results for four categories of
    pharmacies including rural-chain, rural-independent, urban-chain, and urban-independent and
    exclude the results obtained from non-traditional pharmacies.


      Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
                             of the Delaware Department of Health and Social Services
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        We are recommending that the Delaware Department of Health and Social Services (State
        Agency) consider the results of this review as a factor in any fbture changes to pharmacy
        reimbursement for Medicaid drugs. We will share the information with HCFA from all 11 States
        in a consolidation report for their use in evaluating the overall Medicaid drug program.

        The Secretary of the State Agency responded to our draft report in a letter dated, August 1, 1996.
        The Secretary stated that the itiormation from our report would be very usefid as the State
        Agency anticipated making changes to their current reimbursement methodology. The fill text
        of the Secre~’s comments are included in Appendix 4




          Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
                                 of the Delaware Department of Health and Social Services
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                                             lNTRODUCTION
    At the request of HCF~ OIG, Office of Audit Services (OAS) conducted a review of pharmacy
    acquisition costs for drugs reimbursed under the Medicaid prescription drug program of the
    Delaware Department of Health and Social Services (State Agency). The objective of our review
    was to develop an estimate of the difference between the actual acquisition costs of drugs and
    AWP. Thk review was conducted as a part of a nationwide review of pharmacy acquisition costs.
    Delaware was 1 of 11 States randomly selected as part of the nationwide review.
                   ,
    BACKGROUND

    Medicaid regulations provide for the reimbursement of drugs using two methods. If a drug is a
    multiple source (generic) drug, then reimbursement is based on the lower of the pharmacist’s
    usual and customaty charge to the general public or an upper limit amount plus a dispensing fee.
    The Federal upper limit amounts are established by HCFA. If a drug is a single source (brand
    name) drug, or a generic drug for which an upper limit amount has not been established, then the
               n-
    reimburser ent is the lower of the pharmacist’s usual and customary charge to the general public
    or the estimated acquisition cost (EAC) plus a reasonable dispensing fee. The State agencies are
    responsible for determining the EAC and the dispensing fee.

    The EAC for most States is calculated by using AWP for a drug less some percentage. The AWP
    is the price assigned to the drug by its manufacturer and is listed in either the Red Book,
    Medispan or the Blue Book--publications universally used in the pharmaceutical indust~. Prior
    to 1984, most States used 100 percent of AWP for reimbursement of acquisition costs. However,
    OIG issued a report in 1984 which stated that, on average, pharmacies purchased drugs for
    15.9 percent below AWP. In 1989, OIG issued a follow-up report which concluded that
    pharmacies were purchasing drugs at discounts of 15.5 percent below AWP. Both the 1984 and
    1989 reports combined brand name and generic drugs in calculating the percentage discounts and
    included a comparison of 3,469 and 4,723 purchases, respectively.

    In 1989, HCFA issued a revision to the State Medicaid Manual which pointed out that a
    preponderance of evidence demonstrated that AWP overstated prices that pharmacies actually
    paid for drugs by as much as 10 to 20 percent. The Manual firther provided that, absent valid
    documentation to the contrary, it would not be acceptable for a State to make reimbursements
    using AWP without a significant discount.

    In November 1990, the Omnibus Budget Reconciliation Act of 1990 was passed which placed a
    4-year moratorium on changes to States’ reimbursement policies. The moratorium expired on
    December 31, 1994 and HCFA requested that we, once again, determine the difference between
    AWP and actual pharmacy acquisition cost.


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     The State Agency reported drug expenditures of $19.3 million in Calendar Year (CY) 1994.

     SCOPE

     Our review was performed in accordance with generally accepted government auditing standards.
     The objective of our review was to develop an estimate of the difference between AWP and the
     actual invoice prices of both brand name and generic prescription drugs to Medicaid pharmacy
     providers. Our objective did not require that we identi~ or review any internal control systems.
                   ‘,

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     Our review was limited to ingredient acquisition costs and did not address other areas such as:
     the effect of Medicaid business as a contribution to other store sales; the cost to provide
     professional services other than dispensing a prescription such as therapeutic interventions, patient
     education, and physician consultation; and the cost of dispensing which includes costs for
     computers, multi-part labels, containers, technical staff, transaction fees, Medicaid specific
     administrative costs, and general overhead. We also did not take into consideration the effect of
     Federal upper limit amounts on generic drug reimbursements or usual and customa~ charge
     limitations. We plan to evaluate the effect of the Federal upper limit amounts on generic drug
     reimbursements in a subsequent review.

     We obtained a listing of all Medicaid pharmacy providers from the State Agency. The State
     Agency was responsible for classi&ing each pharmacy as chain, independent or non-traditional,
     For purposes of this review, a chain was defined as four or more pharmacies with common
1    ownership. We determined whether each pharmacy was rural or urban by comparing the county
     location for each pharmacy to a December 31, 1992 listing of metropolitan areas and their
     components. Our sample design was for a stratified random sample of 12 pharmacies selected
     from each of 5 strata--mral-chain, rural-independent, urban-chain, urban-independent, and non-
     traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). The universe of
     pharmacies in the rural-independent stratum and the non-traditional stratum was four and five,
     respectively, so we selected all pharmacies in both strata. We included the non-traditional
1
     category so as to be able to exclude those pharmacies from our estimates. We believed that such
1    pharmacies are able to purchase drugs at substantially greater discounts than a retail pharmacy
4
f    and would inflate our estimate.

     We requested, from each pharmacy selected, the largest invoice from each different source of
     supply for a specified month in CY 1994. We identified the sources of supply as wholesalers,
     chain warehouse distribution centers, generic distributors, and direct manufacturer purchases.
     Each pharmacy was assigned a month from January through September in order to provide a
     cross-section of this 9-month time period. However, we permitted some pharmacies to provide
     invoices from November as invoices were not available from the earlier period.
f    We reviewed every line item on the invoices supplied by the sample pharmacies to ensure that the
     invoices contained the information necessary for our review. We eliminated over-the-counter
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         Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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    items. Some invoices did not include National Drug Codes(NDC), which were needed to obtain
    AWP for the drug. We attempted to obtain NDCS in those instances. We used the 1994 Red
    Book, a nationally recognized reference for drug product and pricing information, as a reference
    for drug product and pricing information, as a reference to obtain NDCS or identifi over-the-
    counter items. One prominent wholesaler, whose invoices contained that wholesaler’s item
    number rather than NDCS, provided us with a listing that converted their item number to an NDC.
    If we were unable to identi~ the NDC for a drug, we eliminated the drug. This was a common
    occurrence for generic drugs where there was no indication on the invoice as to the manufacturer
    of the drug.:,,,,

    We obtained a listing from HCFA that indicated whether a drug is a brand name or generic drug.
    We used that listing to classifi each drug on the invoices as brand or generic. If a drug was not
    on the HCFA listing, we used the Red Book to determine whether the drug was brand or generic.
    Additionally, we obtained drug expenditure information fi-om HCFA-64 Reports.

    The State of Missouri provided us with a pricing file for the purpose of obtaining the AWP for
    each drug. We compared the invoice drug price to AWP for each drug and calculated the
    percentage, if any, by which AWP exceeded the invoice price. If a drug from an invoice was not
    on the pricing file we eliminated that drug.

    An initial meeting was held in Richmond, Vkginia on August 30-31, 1994, with Medicaid
    pharmacy representatives from the sample States. At this meeting, we presented a methodology
    for petiorming the review and the methodology was refined with input fi-om the State
    representatives. At a follow-up meeting held in Richmond, Virginia, on September 27-28, 1995,
    we presented the results of our review with the sample States.

    We used OAS statistical computer software to calculate all estimates as well as to generate all
    random numbers. We did not independently verifi any information obtained from third party
    sources. Our review was conducted by our Little Rock, Arkansas OAS fieldoi%ce with
    assistance from our OAS field ofllces in Baton Rouge, Louisiana, and Austin, Texas from
    September 1994 to September 1995.




        Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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                     FINDINGS AND REC0Mh4ENDAT10Ns
BRAND NAME DRUGS
We estimate that AWP exceeded invoice prices for brand name drugs by 19.3 percent. The
estimate combined aIl pharmacy categories except for non-traditional pharmacies and was
based on the comparison to AWP of 2,529 invoice prices received from 29 pharmacies. The
standard deviation for this estimate was 0.45 pereent (see Appendix 2).

The Wrnat&’that AWP exceeded invoice prices for bra~d name drugs are summarized in the
following table:

                                             Estimated                  Difference


                    ................................................................ ............................................
      4 0                                                                                        SS.6




      2s
      Zto

      1s
      1 0

       6




The following table shows the number of pharmacies sampled and the number of prices
reviewed by individual category for brand name drugs.

                                  Number o f                                              Prlcos f r o m
                               Samplo Ph=rmacles                                       Samp I- P h a r m a c i e s

      RUr-1-Oholn                                           e
                           ....................................                                                 .           .           .           .
Rurml-lndoponclont                                                          s

                           ......................................                                          . . . . . . . . . . . . . . . . . . . . .

      Urbmn-ch=in                                               e


U rbmn-lndopondonc                                            a
                           .................................................. . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
   Non-TMdltlonol                                                       4

                           .........................................                                            .   .   .   .   .   .   .   .   .   .

Ovoroll (E%c. NonT)          s!­


                      am     so    =6      2.0   10              10         6   0       5 0 0    �   000   * Soo        %000            2?600       z




   Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
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GENERIC DRUGS
Wc estimate that AW~ exceeded invoice plices for generic drugs hy 37.0 pcrccnt. Once again,
the estimate combined all pharmacy categmies except non-traditional phanrmcics. The estimate
was based on the comparison to AWP of971 invoice pnccs received from 29 pharmacies. The
standard deviation for this estimate was 1.58 percent (SCC Appendix 2).

The estimates that AWP exceeded invoice prices for generic drugs are summarized by individual
categories in the following table:
                   r   ‘,
                                                            Estimated                  Differences




          7 0

          00

          6 0

          4 0

          3 0

          2 0

          40

           0




The following table shows the number of pharmacies sampled and the number of prices reviewed
by individual category for the generic drugs.


                                                    Number of                                      Prices f r o m
                                                 Sampie P h a r m a c i e s                     Sampie P h a r m a c i e s

           Rur-1-chmln                                                         9
                                          ...................................                                ,,, .,..   .,   .,,,       .   .        .       .       .    .,

Rur=l-indopondont                                                                       G
                                          . . . . . . . . . . . . . . .                                      .          .           .                    .                .
          Urb-n-Ch=ln                                                           e
                                          . . . . . . . . . . . . . . . . . . . . .                              ,, ..,,,     . ,           .,...                .        .
Urbmn-lndopondont                                                      e
                                          ...............................                                        ...         ,,.        .            .           .        .
    Non-Tr=dltlon=l



Over-11    (Exe.            Non T)

                                     *6     *O        26        20        36    *O      6   0    2 0 0   4 0 0     000             moo          ‘1       000             1:
                                                                                                                                                                               1
                                                                                                                                                                               00

    Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medictid Prcsmip[ion Drug Program
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                         C ONCLUSIONS                  AND        RECOMMENDATION

        Based on our review, we have determined that there is a significant difference between AWP and
        pharmacy acquisition costs. The difference between AWP and pharmacy acquisition costs is
        significantly greater for generic drugs than for brand name drugs. In general, State
        representatives believed that the review supported current State practices to establish pharmacy
        reimbursement for ingredient cost at levels below AWP.

        We recognize that acquisition cost is just one factor in pharmacy reimbursement policy and that
        any change to that policy should also consider the other factors dkcussed in the Scope section of
        our report. Additionally, the effect of Federal upper limit amounts on generic drug
        reimbursements or usual and customary charge limitations should be taken into consideration.
        However, a change in any of the factors affecting pharmacy reimbursement could have a
        significant impact on expenditures because of the size of the program ($ 19.3 million) in
        Delaware. We believe that the difference between AWP and pharmacy acquisition costs as
        determined by our review are significant enough to warrant consideration by the State in any
        evaluation of the drug program. Therefore, we recommend that the State Agency consider the
        results of this review in determining any future changes to pharmacy reimbursement for
        Medicaid drugs.

        STATE AGENCY’S COMMENTS
        The Secretary of the State Agency responded to our draft report in a letter dated, August 1, 1996.
        The Secretary stated that the itiormation from our report would be very usefil as the State
        Agency anticipated making changes to their current reimbursement methodology. The full text
[       of the Secretary’s comments are included in Appendix 4

                                               . .




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                        APPENDICES
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                                                                            APPENDIX I
                                                                             PAGE 1 of2

                            SAMPLE DESCRIPTION

Sample Objectives:
         ,.
              , ‘)
      Develop an estimate of the extent that Average Wholesale Prices (AWP) exceed actual
      invoice prices to Medicaid pharmacies in Delaware for brand name drugs and for
      generic drugs.

Population:

     The sampling population. was pharmacy providers participating in the Medicaid
     prescription drug program of the State Agency.

Sampling Frame:

     The sampling flame was a listing of all pharmacy providers participating in the Medicaid
     prescription drug program.

Sample Design:

     A sample of 12 pharmacies was to be randomly selected from each of 5 strata. The five
     strata of pharmacies were rural-chain, rural-independent, urban-chain, urban-independent,
     and non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). The
     universe of pharmacies in the rural-independent stratum and the non-traditional stratum
     was four and five, respectively, so we selected all pharmacies in both strata. Each
     pharmacy was assigned a month from 1994 for which to provide invoices. All pharmacies
     were initially assigned a month from January through September in a method designed to
     provide a cross-section of the 9-month period. However, some pharmacies were
     permitted .to submit invoices from November as invoices were not available for the month
     originally assigned. The largest invoice from each of four different sources of supply was
     requested. The sources of supply were identified as wholesalers, chain warehouse
     distribution centers, generic distributors, and direct manufacturer purchases. All invoice
     prices were compared to AWP.
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                                                                             APPENDIX 1
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Sample Size:

      The total sample size was 45 with 12 pharmacies selected in the rural-chain, urban-chain
      and urban-independent strata, 4 in the rural-independent stratum, and 5 in the non-
      traditional stratum.

Source ofRandom Numbers:
      OAS statistical sampling software was used to generate the random numbers.


Characteristics to be Measured:

     From our review of the pharmacy invoices, we calculated the percentage that AWP
     exceeded actual invoice prices for all drugs on the invoices submitted.

Treatment of Missing Sample Items:

     No spare was substituted for a pharmacy that did not provide information. If a pharmacy
     did not send an invoice for a particular type of supplier, we assumed that the pharmacy did
     not purchase drugs from that type of supplier during the month assigned to the pharmacy.

Estimation Methodology:

     We used OAS Statistical SoRware to project the percentage difference between AWP and
     actual invoice prices for each stratum, as well as an overall percentage difference. The
     overall percentage difference excluded the non-traditional pharmacies. The projections
     were done separately for brand name drugs and generics.

Other Evidence:

     We obtained AWP from First DataBank.
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                                                                           APPENDIX 2
                             DELAWARE SAMPLE RESULTS
                           BRAND NAME AND GENERIC DRUGS




                                     22     9     700    17.18               15.98   ] 8.38

                                      4     3      55    18.03               17.26   18.81

                                     81     9    1,459   20.0$               18.99   21.19

                                     18     8     315    18.26               17.98   18.55

                                      5     4      13C   33.41               29.3C   37.65

                                    125    29    2,529   19.25               18.50   19.99




i                                    22     9     434    43.38      7.25     40.32   46.43
}
I
                                      4     3      29    41.33     27.07     28.48   54.19

                                     81     9      345   34.4$      7.3s     30.66   38.30

                                     18     8     163    39.7$      7.01     36.74   42.81

                                      5     4      92    63.85      7.91     60.94   66.76

                                    125    29     971    37.0?      1.5$     34.42   39,63
.
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                                                                   APPENDIX 3
                                NATIONWIDE SAMPLE RESULTS
                               BRAND NAME AND GENERIC DRUGS



                                                                         _
                                                                         &i%%#!#

    RURAL-CHAIN                    1,095    73            17.40   1.05      15.67

    RLIRAL.IND~NDENT               1,499    7’8           16.39   1.07      14.63

    u~AN.cHAm                      8,194    73            18.45   0.52      17.60

    URBAN-INDEPENDENT              6,242    91            18.71   0.90      17.22

    NON-TRADITIONAL                2,026    66            27.52   2.28      23.76

    OVERALL (EXCL. NON-TRAD)      17,030   315            18.30   0.66      17.21




    RURALCHAIN                     1,095    73    2,953   47.51   1.63      44.82   50.20

    RURAL-INDEPENDENT              1,499    7s    1,798   47.38   0.93      45.85   48.92

    URBAN-CHAIN                    8,194    71    2,634   37.61   2.82      32.97   42.26

    URBAN-INDEPENDENT              6,242    91    1,68C   46.72   2.44      42.70   50.73

    NON-TRADITIONAL                2,026    55    1,262   57.70   1.98      54.43   60.96

    OVERALL (EXCL. NON-TRAD]      17,030   314    9,07!   42.45   0.9C      40.97   43.93
      .                                                                                                                       APPENDIX4
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                                                                                                                                  %gehljv—
                              k DELAWARE HEALTH
                                  AND SOCIAL SERVICES
                              w    O        S
                                            FFICE   OF   THE         E C R E T A R Y




                                                                                                    August 1, 1996



               June Gibbs’~rown
               Office of Ir@ector General
               Department of Health& Human Services .
               Washington, D.C. 20201

               Dear Ms. Brown:
                                                                                                                                                          ,.
                       Thank you for the draft copy of your review of pharmacy acquisition costs of the ~elaware
               Medicaid Program. It will be very usefbl for the Delaware Department of Health and Social Services
               since our current reimbursement methodology has been in place for many years.

                       It was particularly interesting to note thht Delaware’s pharmacy providers can purchase brand
               medications at lower prices than the national average. Since there is nothing unique about the
               pharmacies, their location, nor the size of Delaware’s population, I’d be interested in learning what
               allows the pharmacies to buy more effectively?                                                   ..
                       An internal review was done to tipdate the methodology. This study looked at claim level
               information. The current methodology is based not on the standard average wholesale price (AWP)
               but on actual acquisition cost (AAC). The percent off AWP was calculated for each claim that was
               submitted with an AAC. By combhing the information from the national study based on invoices and
               the statewide study based on claims, a rational methodology can be established for our program. We
               anticipate making changes in our procedures.

                        Your comments regarding the maximum allowable cost drugs as set by HCFA are very
               important. It is well known that these drugs usually have an AWP that is not related to any true cost.
               It is dramatically inflated and will influence any study that has to take it into account. Problems
               associated with MAC drugs will be addressed in any update to ingredient cost for the Delaware
               program. We would consider setting up a Delaware MAC for some drugs because we have no generic
               substitution now in Delaware.

                        Although prescription medications are an optional benefit under Medical Assistance, pharmacy
               sexvices have played a major role in the treatment of recipients in the program. As you noted, the
               ingredient price is only one portion of pku-macy cost. ‘he ingredient Cost is lxcoming less and less of
               a factor. Our program as well as the other states will have to a&keSS the other issues that you
               mentioned; particularly the requirement to provide professional services and pay transaction fees.




                  * ant ?s1 n, ,D<. ?stl- Lllc”,r,, hv .       t.l   C\A# ~ACTC C      �   nc,   ALV8QF   .   1 Q7?0 � TEI. EPHC)NE.   (302)   577-4500
E   .. . . .                                                                APPENDIX
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               .                                                                             Page 2 of 2



                           The effort extended by the auditors of your Department and the participation by HCFA
                   officials and State pharmacy administrators will allow our Department as well as others to make
                   recommendations about the fiture method of reimbursing pharmacy providers and rest confidently on
                   the fact that a standard approach using a discounted AWP is valid.
                             . .
                              ,.                                     Sincerely,
                                   ,! ‘1


                                                                     Carmen R. Nazario
                                                                     Secretary


                   pc:    Elaine Archangel
                          Phil Sou16, Sr.
                          Cindy Denemark



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